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Department of the Treasury
Internal Revenue Service

ia

Publication 556
(Rev. September 2013)
Cat. No, 15104N

Examination
of Returns,
Appeal Rights,
and Claims for
Refund

faster and easier by:
Internet IRS.gov

Sep 26, 2013

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The IRS Mission

Provide America's taxpayers top quality service by helping
them understand and meet their tax responsibilities and
by applying the tax law with integrity and fairness to all.

Reminders

Penalty for filing erroneous claim for refund or
credit. You may have to pay a penalty if you file an erro-
neous claim for refund or credit. See Penalty for errone-
ous claim for refund, later under Claims for Refund.

Interest and penalties suspended if notice not mailed
within 36 months. if you file your return timely (including
extensions), interest and certain penalties will be suspen-
ded if the IRS does not mail a notice to you within 36
months. See Suspension of interest and penalties, later
under Examination of Returns.

Fast track mediation. The IRS offers fast track media-
tion services to help taxpayers resolve many disputes re-
sulting from:

® Examinations (audits),

® Offers in compromise,

© Trust fund recovery penalties, and
® Other collection actions.

See Fast track mediation under ff You Do Not Agree.

Introduction

The Internal Revenue Service (IRS) accepts most federal
tax returns as filed. However, the IRS examines (or audits)
some returns to determine it income, expenses, and cred-
its are being reported accurately.

If your return is selected for examination, it does not
suggest that you made an error or are dishonest. Returns
are chosen by computerized screening, by random sam-
ple, or by an income document matching program. See
Examination selection criteria, later. You should also know
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that many examinations result in a refund or acceptance
of the tax return without change.

This publication discusses general rules and proce-
dures that the IRS follows in examinations. It explains
what happens during an examination and your appeal
rights, both within the IRS and in the federal court system.
It also explains how to file a claim for refund of tax you al-
ready paid.

As a taxpayer, you have the right to be treated fairly,
professionally, promptly, and courteously by IRS employ-
ees. Publication 1, Your Rights as a Taxpayer, explains
your rights when dealing with the IRS.

Comments and suggestions. We welcome your com-
ments about this publication and your suggestions for fu-
ture editions.

You can write to us at the following address:

internal Revenue Service

Tax Forms and Publications Division
1111 Constitution Ave. NW, IR-6526
Washington, DC 20224

We respond to many letters by telephone. Therefore, it
would be helpful if you would include your daytime phone
number, including the area code, in your correspondence.

You can send your comments from www.irs.gov/
formspubs/. Click on “More Information” and then on
“Comment on Tax Forms and Publications.”

Although we cannot respond individually to each com-
ment received, we do appreciate your feedback and will
consider your comments as we revise our tax products.

formspubs to download forms and publications, call
1-800-TAX-FORM (1-800-829-3676), or write to the ad-
dress below and receive a response within 10 days after
your request is received,

Internal Revenue Service
1201 N. Mitsubishi Motorway
Bloomington, IL 61704-6613

Tax questions. \|f you have a tax question, check the
information available on wwwirs.gov or call

1-800-829-1040. We cannot answer tax questions sent to
either of the above addresses.

Useful Items
You may want to see:
Publication
11 Your Rights as a Taxpayer

35 Your Appeal Rights and How To Prepare a

Protest If You Don't Agree
547 Casualties, Disasters, and Thefts
4 594 The IRS Collection Process
15 910 Guide to Free Tax Services
‘J 971 Innocent Spouse Relief

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_1 1546 Taxpayer Advocate Service-Your Voice at the
IRS

4} 1660 Collection Appeal Rights

3605 Fast Track Mediation

J 3920 Tax Relief for Victims of Terrorist Attacks
_1 4134 Low Income Taxpayer Clinic List

Form (and Instructions)
_) 843 Claim for Refund and Request for Abatement

(3911 Request for Taxpayer Advocate Service
Assistance (and Application for Taxpayer
Assistance Order)

_) 1040X Amended U.S. Individual Income Tax Return

_J 2848 Power of Attorney and Declaration of
Representative

LI 4506 Request for Copy of Tax Return

J 4506-T Request for Transcript of Tax Return
_] 8379 Injured Spouse Allocation

a 8857 Request for Innocent Spouse Relief

See How To Gel Tax Help, near the end of this publica-
tion, for information about getting these publications and
forms.

Examination of Returns

Your return may be examined for a variety of reasons, and
the examination may take place in any one of several
ways. After the examination, if any changes to your tax
are proposed, you can either agree with those changes
and pay any additional tax you may owe, or you can disa-
gree with the changes and appeal the decision.

Examination selection criteria. Your return may be se-
lected for examination on the basis of computer scoring. A
computer program called the Discriminant Inventory Func-
tion System (DIF) assigns a numeric score to each individ-
ual and some corporate tax returns after they have been
processed. If your return is selected because of a high
score under the DIF system, the potential is high that an
examination of your return will result in a change to your
income tax liability.

Your return may also be selected for examination on
the basis of information received from third-party docu-
mentation, such as Forms 1099 and W-2, that does not
match the information reported on your return. Or, your re-
turn may be selected to address both the questionable
treatment of an item and to study the behavior of similar
taxpayers (a market segment) in handling a tax issue.

In addition, your return may be selected as a result of
information received from other sources on potential non-
compliance with the tax laws or inaccurate filing. This in-
formation can come from a number of sources, including

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newspapers, public records, and individuals. The informa-
tion is evaluated for reliability and accuracy before it is
used as the basis of an examination or investigation.

Notice of IRS contact of third parties. The IRS must
give you reasonable notice before contacting other per-
sons about your tax matters. You must be given reasona-
ble notice in advance that, in examining or collecting your
tax liability, the IRS may contact third parties such as your
neighbors, banks, employers, or employees. The IRS
must also give you notice of specific contacts by providing
you with a record of persons contacted on both a periodic
basis and upon your request.

yN This provision does not apply:
for-1ea gets}

® To any pending criminal investigation,

© When providing notice would jeopardize collection of
any tax liability,

© Where providing notice may result in reprisal against
any person, or

© When you authorized the contact.

Taxpayer Advocate Service. The Taxpayer Advocate
Service is an independent organization within the IRS
whose goal is to help taxpayers resolve problems with the
IRS. If you have an ongoing issue with the IRS that has
not been resolved through normal processes, or your
problems with the IRS are causing financial difficulty, con-
tact the Taxpayer Advocate Service.

Before contacting the Taxpayer Advocate Serv-
TIP ice, you should first discuss any problem with a
supervisor. Your local Taxpayer Advocate will as-

sist you if you are unable to resolve the problem with the
supervisor.

For more information, see Publication 1546. See How
To Get Tax Help, near the end of this publication, for more
information about contacting the Taxpayer Advocate
Service.

Comments from small business. The Small Business
and Agricultural Regulatory Enforcement Ombudsman
and 10 Regional Fairness Boards have been established
to receive comments from small business about federal
agency enforcement actions. The Ombudsman will annu-
ally evaluate the enforcement activities of each agency
and rate their responsiveness to small business. If you
wish to comment on the enforcement actions of the IRS,
you can take any of the following steps.

® Fax your comments to 1-202-481-5719.

® Write to the following address:
Office of the National Ombudsman
U.S. Small Business Administration
409 3rd Street, SW
Washington, DC 20416

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® Call 1-888-734-3247,

® Send an email to ombudsman@sba.gov.

® File a comment or complaint online at www.sba.gov/
ombudsman.

lf Your Return Is Examined

Some examinations are handled entirely by mail. Exami-
nations not handled by mail can take place in your home,
your place of business, an Internal Revenue office, or the
office of your authorized representative. If the time, place,
or method is not convenient for you, the examiner will try
to work out something more suitable. However, the IRS
makes the final determination of when, where, and how
the examination will take place.

Throughout the examination, you can act on your own
behalf or have someone represent you or accompany
you. If you fited a joint return, either you or your spouse, or
both, can meet with the IRS. The person representing you
can be any federally authorized practitioner, including an
attorney, a certified public accountant, an enrolled agent
(a person enrolled to practice before the IRS), an enrolled
actuary, or the person who prepared the return and signed
it as the preparer.

If you want someone to represent you in your absence,
you must furnish that person with proper written authoriza-
tion. You can use Form 2848 or any other properly written
authorization. If you want to consult with an attorney, a
certified public accountant, an enrolled agent, or any other
person permitted to represent a taxpayer during an inter-
view for examining a tax return or collecting tax, you
should make arrangements with that person to be availa-
ble for the interview. In most cases, the IRS must suspend
the interview and reschedule it. The IRS cannot suspend
the interview if you are there because of an administrative
summons.

Third party authorization. \t you checked the box in
the signature area of your income tax return (Form 1040,
Form 1040A, or Form 1040EZ) to allow the IRS to discuss
your return with another person (a third party designee),
this authorization does not replace Form 2848. The box
you checked on your return only authorizes the other per-
son to receive information about the processing of your re-
turn and the status of your refund during the period your
return is being processed. For more information, see the
instructions for your return.

Confidentiality privilege. Generally, the same confi-
dentiality protection that you have with an attorney also
applies to certain communications that you have with fed-
erally authorized practitioners.

Confidential communications are those that:

© Advise you on tax matters within the scope of the
practitioner's authority to practice before the IRS,

® Would be confidential between an attorney and you,
and

®@ Relate to noncriminal tax matters before the IRS, or

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® Relate to noncriminal tax proceedings brought in fed-
eral court by cr against the United States.

In the case of communications in connection with the
promotion of a person's participation in a tax shelter, the
confidentiality privilege does not apply to written commu-
nications between a federally authorized practitioner and
that person, any director, officer, employee, agent, or rep-
resentative of that person, or any other person holding a
capital or profits interest in that person.

A tax shelter is any entity, plan, or arrangement, a sig-
nificant purpose of which is the avoidance or evasion of
income tax.

Recordings. You can make an audio recording of the ex-
amination interview. Your request to record the interview
should be made in writing. You must notify the examiner
10 days in advance and bring your own recording equip-
ment. The IRS also can record an interview. If the IRS ini-
tiates the recording, you must be notified 10 days in ad-
vance and you can get a copy of the recording at your
expense.

Transfers to another area. Generally, your return is ex-
amined in the area where you live. But if your return can
be examined more quickly and conveniently in another
area, such as where your books and records are located,
you can ask to have the case transferred to that area.

Repeat examinations. The IRS tries to avoid repeat ex-
aminations of the same items, but sometimes this hap-
pens. If your tax return was examined for the same items
in either of the 2 previous years and no change was pro-
posed to your tax liability, please contact the IRS as soon
as possible to see if the examination should be discontin-
ued.

The Examination

An examination usually begins when you are notified that
your return has been selected. The IRS will tell you which
records you will need. The examination can proceed more
easily if you gather your records before any interview.

Any proposed changes to your return will be explained
to you or your authorized representative. It is important
that you understand the reasons for any proposed
changes. You should not hesitate to ask about anything
that is unclear to you.

The IRS must follow the tax laws set forth by Congress
in the Internal Revenue Code. The IRS also follows Treas-
ury Regulations, other rules, and procedures that were
written to administer the tax laws and court decisions.
However, the IRS can lose cases that involve taxpayers
with the same issue and still apply its interpretation of the
law to your situation.

Most taxpayers agree to changes proposed by examin-
ers, and the examinations are closed at this level. If you
do not agree, you can appeal any proposed change by
following the procedures provided to you by the IRS. A

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more complete discussion of appeal rights is found later
under Appeal Rights.

If You Agree

If you agree with the proposed changes, you can sign an
agreement form and pay any additional tax you may owe.
You must pay interest on any additional tax. If you pay
when you sign the agreement, the interest is generally fig-
ured from the due date of your return (excluding any ex-
tension of time to file) to the date of your payment.

If you do not pay the additional tax when you sign the
agreement, you will receive a bill that includes interest. If
you pay the amount due within 10 business days of the
billing date, you will not have to pay more interest or pen-
alties. This period is extended to 21 calendar days if the
amount due is less than $100,000.

If you are due a refund, you will receive it sooner if you
sign the agreement form. You will be paid interest on the
refund.

If the IRS accepts your tax return as filed, you will re-
ceive a letter in a few weeks stating that the examiner pro-
posed no changes to your return. You should keep this
letter with your tax records.

If You Do Not Agree

If you do not agree with the proposed changes, the exam-
iner will explain your appeal rights. If your examination
takes place in an IRS office, you can request an immedi-
ate meeting with the examiner's supervisor to explain your
position. If an agreement is reached, your case will be
closed.

If you cannot reach an agreement with the supervisor at
this meeting, or if the examination took place outside of an
IRS office, the examiner will write up your case explaining
your position and the IRS's position. The examiner will for-
ward your case for processing.

Fast track mediation. The [RS offers fast track media-
tion services to help taxpayers resolve many disputes re-
sulting from:

® Examinations (audits),

© Offers in compromise,

® Trust fund recovery penalties, and
© Other collection actions.

Most cases that are not docketed in any court qualify
for fast track mediation. Mediation can take place at a
conference you request with a supervisor, or later. The
process involves an Appeals Officer who has been trained
in mediation. You may represent yourself at the mediation
session, or someone else can act as your representative.
For more information, see Publication 3605.

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30-day letter and 90-day letter. Within a few weeks af-
ter your closing conference with the examiner and/or su-
pervisor, you will receive a package with:

® Aletter (known as a 30-day letter) notifying you of
your right to appeal the proposed changes within 30
days,

® Acopy of the examination report explaining the exam-
iner’s proposed changes,

® An agreement or waiver form, and

© Acopy of Publication 5.

You generally have 30 days from the date of the 30-day
letter to tell the IRS whether you will accept or appeal the
proposed changes. The letter will explain what steps you
should take, depending on which action you choose. Be
sure to follow the instructions carefully. Appeal! Rights are
explained later.

90-day letter. \f you do not respond to the 30-day let-
ter, or if you later do not reach an agreement with an Ap-
peals Officer, the IRS will send you a 90-day letter, which
is also known as a notice of deficiency.

You will have 90 days (150 days if it is addressed to
you outside the United States) from the date of this notice
to file a petition with the Tax Court. Filing a petition with
the Tax Court is discussed later under Appeals _to_the
Courts and Tax Court.

The notice will show the 90th (or 150th) day by
rip) which you must file your petition with the Tax
Court.

Suspension of interest and penalties. Generally, the
IRS has 3 years from the date you filed your return (or the
date the return was due, if later) to assess any additional
tax. However, if you file your return timely (including ex-
tensions), interest and certain penalties will be suspended
if the IRS does not mail a notice to you, stating your liabil-
ity and the basis for that liability, within a 36-month period
beginning on the later of:

® The date on which you filed your tax return, or
® The due date (without extensions) of your tax return.

if the IRS mails a notice after the 36-month period, interest
and certain penalties applicable to the suspension period
will be suspended.

The suspension period begins the day after the close of
the 36-month period and ends 21 days after the IRS mails
a notice to you stating your liability and the basis for that
liabifity. Also, the suspension period applies separately to
each notice stating your liability and the basis for that lia-
bility received by you.

The suspension does not apply to a:

Ree lols!

® Failure-to-pay penalty,

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® Fraudulent tax return,

© Penalty, interest, addition to tax, or additional amount
with respect to any tax liability shown on your retum or
with respect to any gross misstatemeni,

© Penalty, interest, addition to tax, or additional amount
with respect to any reportable transaction that is not
adequately disclosed or any listed transaction, or

© Criminal penalty.

Seeking relief from improperly assessed interest.
You can seek relief if interest is assessed for periods dur-
ing which interest should have been suspended because
the IRS did not mail a notice to you in a timely manner.

If you believe that interest was assessed with respect
to a period during which interest should have been sus-
pended, submit Form 843, writing “Section 6404(g) Notifi-
cation” at the top of the form, with the IRS Service Center
where you filed your return. The IRS will review the Form
843 and notify you whether interest will be abated. If the
IRS does not abate interest, you can pay the disputed in-
terest assessment and file a claim for refund. If your claim
is denied or not acted upon within 6 months from the date
you filed it, you can file suit for a refund in your United
States District Court or in the United States Court of Fed-
eral Claims.

If you believe that an IRS officer or employee has made
an unreasonable error or delay in performing a ministerial
or managerial act (discussed later under Abatement of In-
the IRS Service Center where you filed the tax return. If
the IRS denies your claim, the Tax Court may be able to
review that determination. See Tax Court can review fail-
ure to abate interest later under Abatement of Interest Oue
to Error or Delay by the IRS.

If you later agree. If you agree with the examiner's
changes after receiving the examination report or the
30-day letter, sign and return either the examination report
or the waiver form. Keep a copy for your records. You can
pay any additional amount you owe without waiting for a
bill. Include interest on the additional tax at the applicable
rate. This interest rate is usually for the period from the
due date of the return (excluding any extension of time to
file) to the date of payment. The examiner can tell you the
interest rate(s) or help you figure the amount.

You must pay interest on penalties and additions to tax
for failing to file returns, for overstating valuations, for un-
derstating valuations on estate and gift tax returns, and for
substantially understating tax liability. Interest is generally
figured from the date (including extensions) the tax retum
is required to be filed to the date you pay the penalty
and/or additions to tax.

If you pay the amount due within 10 business days after
the date of notice and demand for immediate payment,
you will not have to pay any additional penalties and inter-
est. This period is extended to 21 calendar days if the
amount due is less than $100,000.

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How To Stop Interest From Accruing

If you think that you will owe additional tax at the end of
the examination, you can stop the further accrual of inter-
est by sending money to the IRS to cover all or part of the
amount you think you will owe. Interest on part or all of any
amount you owe will stop accruing on the date the IRS re-
ceives your money.

You can send an amount either in the form of a deposit
in the nature of a cash bond or as a payment of tax. Botha
deposit and a payment stop any further accrual of interest.
However, making a deposit or payment will stop the ac-
crual of interest on only the amount you sent. Because of
compounding rules, interest will continue to accrue on ac-
crued interest, even though you have paid the underlying
tax.

To stop the accrual of interest on both tax and in-
terest, you must make a deposit or payment for

both the tax and interest that has accrued as of
the date of deposit or payment.

Payment or Deposit

Deposits differ from payments in two ways:

1, You can have all or part of your deposit returned to
you without filing for a refund. However, if you request
and receive your deposit and the IRS later assesses a
deficiency for that period and type of tax, interest will
be figured as if the funds were never on deposit. Also,
your deposit will not be returned if one of the following
situations applies:

a. The IRS assesses a tax liability.

b. The IRS determines that, by returning the deposit,
it may not be able to collect a future deficiency.

c. The IRS determines that the deposit should be ap-
plied against another tax liability.

2. Deposits returned to you will include interest based
on the Federal short-term rate determined under sec-
tion 6621(b).

The deposit returned will be treated as a tax payment to
the extent of the disputed tax. A disputed tax means the
amount of tax specified at the time of deposit as a reason-
able estimate of the maximum amount of any tax owed by
you, such as the deficiency proposed in the 30-day letter.

Notice not mailed. If you send money before the IRS
mails you a notice of deficiency, you can ask the IRS to
treat it as a deposit. You must make your request in writ-
ing.
If, after being notified of a proposed liability but before
the IRS mails you a notice of deficiency, you send an
amount large enough to cover the proposed liability, it will
be considered a payment unless you request in writing
that it be treated as a deposit. Keep copies of all corre-
spondence you send to the IRS.

If the amount you send is at least as much as the pro-
posed liability and you do not request that it be treated as

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a deposit, the IRS will not send you a notice of deficiency.
If you do not receive a notice of deficiency, you cannot
take your case to the Tax Court. See Tax Court, later un-

der Appeal Rights.

Notice mailed. If, after the IRS mails the notice of defi-
ciency, you send money without written instructions, it will
be treated as a payment. You will still be able to petition
the Tax Court.

If you send money after receiving a notice of deficiency
and you have specified in writing that it is a “deposit in the
nature of a cash bond,” the IRS will treat it as a deposit if
you send it before either:

® The close of the 90-day or 150-day period for filing a
petition with the Tax Court to appeal the deficiency, or

® The date the Tax Court decision is final, if you have
filed a petition.

Using a Deposit To Pay the Tax

If you agree with the examiner's proposed changes after
the examination, your deposit will be applied against any
amount you may owe. The IRS will not mail you a notice of
deficiency and you will not have the right to take your case
to the Tax Court.

If you do not agree to the full amount of the deficiency
after the examination, the IRS will mail you a notice of de-
ficiency. Your deposit will be applied against the proposed
deficiency unless you write to the IRS before the end of
the 90-day or 150-day period stating that you still want the
money to be treated as a deposit. You will still have the
right to take your case to the Tax Court.

Installment Agreement Request

You can request a monthly installment plan if you cannot
pay the full amount you owe. To be valid, your request
must be approved by the IRS. However, if you owe
$10,000 or less in tax and you meet certain other criteria,
the IRS must accept your request.

Before you request an instaliment agreement,
TP you should consider other less costly alterna-
tives, such as a bank loan. You will continue to be

charged interest and penalties on the amount you owe un-
til itis paid in full.

Unless your income is below a certain level, the fee for
an approved installment agreement has increased to
$105 ($52 if you make your payments by electronic funds
withdrawal). If your income is below a certain level, you
may qualify to pay a reduced fee of $43.

For more information about installment agreements,
see Form 9465, Installment Agreement Request.

Interest Netting

If you owe interest to the IRS on an underpayment for the
same period the IRS owes you interest on an

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overpayment, the IRS will figure interest on the underpay-
ment and overpayment at the same interest rate (up to the
amount of the overpayment). As a result, the net rate is
zero for that period.

Abatement of Interest Due to
Error or Delay by the IRS

The IRS may abate (reduce) the amount of interest you
owe if the interest is due to an unreasonable error or delay
by an IRS officer or employee in performing a ministerial
or managerial act (discussed later). Only the amount of in-
terest on income, estate, gift, generation-skipping, and
certain excise taxes can be reduced.

The amount of interest will not be reduced if you or any-
one related to you contributed significantly to the error or
delay. Also, the interest will be reduced only if the error or
delay happened after the IRS contacted you in writing
about the deficiency or payment on which the interest is
based. An audit notification letter is such a contact.

The IRS cannot reduce the amount of interest due to a
general administrative decision, such as a decision on
how to organize the processing of tax returns.

Ministerial act. This is a procedural or mechanical act,
not involving the exercise of judgment or discretion, during
the processing of a case after all prerequisites (for exam-
ple, conferences and review by supervisors) have taken
place. A decision concerning the proper application of
federal tax law (or other federal or state law) is not a min-
isterial act.

Example 7. You move from one state to another be-
fore the IRS selects your tax return for examination. A let-
ter stating that your retum has been selected is sent to
your old address and then forwarded to your new ad-
dress. When you get the letter, you respond with a re-
quest that the examination be transferred to the area of-
fice closest to your new address. The examination group
manager approves your request. After your request has
been approved, the transfer is a ministerial act. The IRS
can reduce the interest because of any unreasonable de-
lay in transferring the case.

Example 2. An examination of your return reveals tax
due for which a notice of deficiency (90-day letter) will be
issued. After you and the IRS discuss the issues, the no-
tice is prepared and reviewed. After the review process,
issuing the notice of deficiency is a ministerial act. If there
is an unreasonable delay in sending the notice of defi-
ciency to you, the IRS can reduce the interest resulting
from the delay.

Managerial act. This is an administrative act during the
processing of a case that involves the loss of records or
the exercise of judgment or discretion concerning the
management of personnel. A decision concerning the
proper application of federal tax law (or other federal or
state law) is not a managerial act.

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Example. A revenue agent is examining your tax re-
turn. During the middle of the examination, the agent is
sent to an extended training course. The agent's supervi-
sor decides not to reassign your case, so the work is un-
reasonably delayed until the agent returns. Interest from
the unreasonable delay can be abated since both the de-
cision to send the agent to the training class and not to re-
assign the case are managerial acts.

How to request abatement of interest. You request an
abatement (reduction) of interest on Form 843. You
should file the claim with the IRS Service Center where
you filed the tax return that was affected by the error or
delay.

If you have already paid the interest and you would like
a credit or refund of interest paid, you must file Form 843
within 3 years from the date you filed your original return
or 2 years from the date you paid the interest, whichever
is later. If you have not paid any of the interest, these time
limitations for filing Form 843 do not apply.

Generally, you should file a separate Form 843 for each
tax period and each type of tax. However, complete only
one Form 843 if the interest is from an IRS error or delay
that affected your tax for more than one tax period or for
more than one type of tax (for example, where 2 or more
tax years were being examined).

If your request for abatement of interest is denied, you
can appeal the decision to the IRS Appeals Office.

Tax Court can review failure to abate interest. The
Tax Court can review the IRS's refusal to abate (reduce)
interest if all of the following requirements are met:

® You filed a request for abatement of interest (Form
843) with the IRS after July 30,1996.

© The IRS has mailed you a notice of final determination
or a notice of disallowance.

© You file a petition with the Tax Court within 180 days
of the mailing of the notice of final determination or the
notice of disallowance.

The following requirements must also be met:

© For individual and estate taxpayers — your net worth
must not exceed $2 million as of the filing date of your
petition for review. For this purpose, individuals filing a
joint return shal! be treated as separate individuals.

® For charities and certain cooperatives — you must not
have more than 500 employees as of the filing date of
your petition for review.

© For all other taxpayers — your net worth must not ex-
ceed $7 million, and you must not have more than 500
employees as of the filing date of your petition for re-
view.

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Abatement of Interest for
Individuals Affected by
Presidentially Declared Disasters
or Military or Terrorist Actions

If you are (or were) affected by a Presidentially declared
disaster occurring after 1996 or a terrorist or military ac-
tion occurring after September 10, 2001, the IRS may
abate (reduce) the amount of interest you owe on certain
taxes. The IRS may abate interest for the period of any
additional time to file or pay that the IRS provides on ac-
count of the disaster or the terrorist or military action. The
IRS will issue a notice or news release indicating who are
affected taxpayers and stating the period of relief.

If you are eligible for relief from interest, but were
charged interest for the period of relief, the IRS may retro-
actively abate your interest. To the extent possible, the
IRS can take the following actions:

® Make appropriate adjustments to your account.
® Notify you when the adjustments are made.

® Refund any interest paid by you where appropriate.

For more information on disaster area losses, see Dis-
aster Area Losses in Publication 547. For more informa-
tion on other tax relief for victims of terrorist attacks, see
Publication 3920.

Offer in Compromise

In certain circumstances, the IRS will allow you to pay less
than the full amount you owe. If you think you may qualify,
you should submit your offer by filing Form 656, Offer in
Compromise. The IRS may accept your offer for any of the
following reasons:

® There is doubt about the amount you owe (or whether
you owe it).

® There is doubt as to whether you can pay the amount
you owe based on your financial situation.

® Aneconomic hardship would result if you had to pay
the full amount owed.

® Your case presents compelling reasons that the IRS
determines are a sufficient basis for compromise.

If your offer is rejected, you have 30 days to ask the Ap-
peals Office of the IRS to reconsider your offer.
TIP) help taxpayers resolve many issues including a
dispute regarding an offer in compromise. For
more information, see Publication 36085.

The IRS offers fast track mediation services to

Generally, if you submit an offer in compromise, the
IRS will delay certain collection activities. The IRS usually
will not levy (take) your property to settle your tax bill dur-
ing the following periods:

® While the IRS is evaluating your offer in compromise.

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© The 30 days immediately after the offer is rejected.

® While your timely-filed appeal is being considered by
Appeals.

Also, if the IRS rejects your original offer and you submit a
revised offer within 30 days of the rejection, the IRS gen-
erally will not levy your property while it considers your re-
vised offer.

For more information about submitting an offer in com-
promise, see Form 656.

Appeal Rights

Because people sometimes disagree on tax matters, the
IRS has an appeals system. Most differences can be set-
tled within this system without expensive and time-con-
suming court trials.

However, your reasons for disagreeing must come
within the scope of the tax laws. For example, you cannot
appeal your case based only on moral, religious, political,
constitutional, conscientious, or similar grounds.

In most instances, you may be eligible to take your
case to court if you do not reach an agreement at your ap-
peals conference, or if you do not want to appeal your
case to the IRS Office of Appeals. See Appeals to_ the
Courts, later, for more information.

Appeal Within the IRS

You can appeal an IRS tax decision to a local Appeals Of-
fice, which is separate from and independent of the IRS
office taking the action you disagree with. The Appeals
Office is the only level of appeal within the IRS. Conferen-
ces with Appeals Office personnel are held in an informal
manner by correspondence, by telephone, or at a per-
sonal conference.

If you want an appeals conference, follow the instruc-
tions in the letter you received. Your request will be sent to
the Appeals Office to arrange a conference at a conven-
ient time and place. You or your representative should be
prepared to discuss all disputed issues at the conference.
Most differences are settled at this level.

\f agreement is not reached at your appeals confer-
ence, you may be eligible to take your case to court. See

Appeals to the Courts, later.

Protests and Small Case Requests

When you request an Appeals conference, you may also
need to file either a formal written protest or a small case
request with the office named in the letter you received.
Also, see the special appeal request procedures in Publi-
cation 1660.

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Written protest. You need to file a written protest in the
following cases:

© All employee plan and exempt organization cases
without regard to the dollar amount at issue.

® All partnership and S corporation cases without regard
to the dollar amount at issue.

® All other cases, unless you qualify for the small case
request procedure, or other special appeal proce-
dures such as requesting Appeals consideration of
liens, levies, seizures, or installment agreements.

If you must submit a written protest, see the instructions
in Publication 5 about the information you need to provide.
The IRS urges you to provide as much information as you
can, as it will help speed up your appeal. That will save
you both time and money.

Be sure to send the protest within the time limit
specified in the letter you received.
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Small case request. If the total amount for any tax pe-
tiod is not more than $25,000, you may make a small case
request instead of filing a formal written protest. In figuring
the total amount, include a proposed increase or de-
crease in tax (including penalties), or claimed refund. If
you are making an offer in compromise, include total un-
paid tax, penalty, and interest due. For a small case re-
quest, follow the instructions in our letter to you by send-
ing a letter:

© Requesting Appeals consideration,
® Indicating the changes you do not agree with, and

® Indicating the reasons why you do not agree.

Representation

You can represent yourself at your appeals conference, or
you can be represented by any federally authorized practi-
tioner, including an attorney, a certified public accountant,
an enrolled actuary, or an enrolled agent.

If your representative attends a conference without you,
he or she can receive or inspect confidential information
only if you have filed a power of attorney or a tax informa-
tion authorization. You can use a Form 2848 or any other
properly written power of attorney or authorization.

You can also bring witnesses to support your position.

Confidentiality privilege. Generally, the same confiden-
tiality protection that you have with an attorney also ap-
plies to certain communications that you have with feder-
ally authorized practitioners. See Confidentiality privilege
under /f Your Return Is Examined, earlier.

Appeals to the Courts

If you and the IRS still disagree after the appeals confer-
ence, you may be entitled to take your case to the United
States Tax Court, the United States Court of Federal

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Claims, or a United States District Court. These courts are
independent of the IRS.

If you elect to bypass the IRS's appeals system, you
may be able to take your case to one of the courts listed
above. However, a case petitioned to the United States
Tax Court will normally be considered for settlement by an
Appeals Officer before the Tax Court hears the case.

if you unreasonably fail to pursue the IRS's ap-
peals system, or if your case is intended primarily
is

mmr to cause a delay, or your position is frivolous or
groundless, the Tax Court may impose a penalty of up to
$25,000. See Appeal Within the IRS, earlier.

Prohibition on requests to taxpayers to give up
rights to bring civil action. The Government cannot ask
you to waive your right to sue the United States or a Gov-
ernment officer or employee for any action taken in con-
nection with the tax laws. However, your right to sue can
be waived if:

® You knowingly and voluntarily waive that right,

® The request to waive that right is made in writing to
your attorney or other federally authorized practitioner,
or

© The request is made in person and your attorney or
other representative is present.

Burden of proof. For court proceedings resulting from
examinations started after July 22, 1998, the IRS gener-
ally has the burden of proof for any factual issue if you
have met the following requirements:

* You introduced credible evidence relating to the issue.

® You complied with all substantiation requirements of
the Internal Revenue Code.

® You maintained all records required by the Internal
Revenue Code.

® You cooperated with all reasonable requests by the
IRS for information regarding the preparation and rela-
ted tax treatment of any item reported on your tax re-
turn.

® You had a net worth of $7 million or less and not more
than 500 employees at the time your tax liability is
contested in any court proceeding if your tax return is
for a corporation, partnership, or trust.

mB The burden of proof does not change on an issue
when another provision of the tax laws requires a
SME %specific burden of proof with respect to that issue.

Use of statistical information. \n the case of an indi-
vidual, the IRS has the burden of proof in court proceed-
ings based on any IRS reconstruction of income solely
through the use of statistical information on unrelated tax-
payers.

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Penalties. The IRS has the burden of initially produc-
ing evidence in court proceedings with respect to the lia-
bility of any individual taxpayer for any penalty, addition to
tax, or additional amount imposed by the tax laws.

Recovering litigation or administrative costs. These
are the expenses that you pay to defend your position to
the IRS or the courts. You may be able to recover reason-
able litigation or administrative costs if all of the following
conditions apply:

© You are the prevailing party.

© You exhaust all administrative remedies within the
IRS.

¢ Your net worth is below a certain limit (see Net worth

® You do not unreasonably delay the proceeding.

© You apply for administrative costs within 90 days of
the date on which the final decision of the IRS Office
of Appeals as to the determination of the tax, interest,
or penalty was mailed to you.

© You apply for litigation costs within the time frames
provided by Tax Court Rule 231, found at
www.ustaxcourt. gov.

Prevailing party, reasonable litigation costs, and rea-
sonable administrative costs are explained later.

Note. If the IRS denies your award of administrative
costs, and you want to appeal, you must petition the Tax
Court within 90 days of the date on which the IRS mails
the denial notice.

Prevailing party. Generally, you are the prevailing
party if:

® You substantially prevail with respect to the amount in
controversy or on the most significant tax issue or set
of issues in question, and

® You meet the net worth requirements, discussed later.

You will not be treated as the prevailing party if the Uni-
ted States establishes that its position was substantially
justified. The position of the United States is presumed
not to be substantially justified if the IRS:

® Did not follow its applicable published guidance (such
as regulations, revenue rulings, notices, announce-
ments, private letter rulings, technical advice memo-
randa, and determination letters issued to the tax-
payer) in the proceeding (This presumption can be
overcome by evidence.), or

© Has lost in courts of appeal for other circuits on sub-
stantially similar issues.

The court will generally decide who is the prevailing
party.

Reasonable litigation costs. These include the fol-
lowing costs:

@ Reasonable court costs.

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® The reasonable costs of studies, analyses, engineer-
ing reports, tests, or projects found by the court to be
necessary for the preparation of your case.

¢ The reasonable costs of expert witnesses.

® Attorney fees that generally may not exceed $125
maximum hourly rate as set by statute and indexed for
inflation. See Attorney fees, later.

Reasonable administrative costs. These include the
following costs:

® Any administrative fees or similar charges imposed by
the IRS.

© The reasonable costs of studies, analyses, engineer-
ing reports, tests, or projects.

® The reasonable costs of expert witnesses.

® Attorney fees that generally may not exceed $125 per
hour. See Attormey fees, later.

Timing of costs. Administrative costs can be awar-
ded for costs incurred after the earliest of:

© The date the first letter of proposed deficiency is sent
that allows you an opportunity to request administra-
tive review in the IRS Office of Appeals,

® The date you receive notice of the IRS Office of Ap-
peals' decision, or

® The date of the notice of deficiency.

Net worth requirements. An individual taxpayer may
be able to recover litigation or administrative costs if the
following requirements are met:

¢ For individuals — your net worth does not exceed $2
million as of the filing date of your petition for review.
For this purpose, individuals filing a joint return are
treated as separate individuals.

© For estates — your net worth does not exceed $2 mil-
lion as of the date of the decedent's death.

¢ For charities and certain cooperatives — you do not
have more than 500 employees as of the filing date of
your petition for review.

© For all other taxpayers — as of the filing date of your
petition for review, your net worth does not exceed $7
million, and you must not have more than 500 employ-
ees.

Qualified offer rule. You can also receive reasonable
costs and fees and be treated as a prevailing party in a
civil action or proceeding if:

® You make a qualified offer to the IRS to settle your
case,

© The IRS does not accept that offer, and

¢ The tax liability (not including interest, unless interest
is at issue) later determined by the court is equal to or
less than the amount of your qualified offer.

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You must also meet the remaining requirements, including
the exhaustion of administrative remedies and the net
worth requirement, discussed earlier, to get the benefit of
the qualified offer rule.

Qualified offer. This is a written offer made by you
during the qualified offer period. It must specify both the
offered amount of your liability (not including interest) and
that it is a qualified offer.

To be a qualified offer, it must remain open from the
date it is made until the earliest of:

© The date itis rejected,
® The date the trial begins, or
® 90 days from the date it is made.

Qualified offer period. This period begins on the day
the IRS mails you the first letter of proposed deficiency
that allows you to request review by the IRS Office of Ap-
peals. It ends 30 days before your case is first set for trial.

Attorney fees. Attorney fees generally may not ex-
ceed $125 maximum hourly rate as set by statute and in-
dexed for inflation. However, this amount can be higher in
certain limited circumstances depending on the level of
difficulty of the issues in the case and the local availability
of tax expertise. See IRS.gov for more information.

Attorney fees include the fees paid by a taxpayer
for the services of anyone who is authorized to
practice before the Tax Court or before the IRS.
In addition, attorney fees can be awarded in civil actions

for unauthorized inspection or disclosure of a taxpayer's
return or return information.

Fees can be awarded in excess of the actual amount
charged if:

® You are represented for no fee, or for a nominal fee,
as a pro bono service, and

® The award is paid to your representative or to your
representative's employer.

Jurisdiction for determination of employment status.
The Tax Court can review IRS employment status deter-
minations (for example, whether individuals hired by you
are in fact your employees or independent contractors)
and the amount of employment tax under such determina-
tions. Tax Court review can take place only if, in connec-
tion with an audit of any person, there is a controversy in-
volving a determination by the IRS that either:

® One or more individuals performing services for that
person are employees of that person, or

® That person is not entitled to relief under Section
530(a) of the Revenue Act of 1978(discussed later).

The following rules also apply to a Tax Court review of
employment status:

® A Tax Court petition to review these determinations
can be filed only by the person for whom the services
are performed,

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® If you receive a Notice of Determination by certified or
registered mail, you must file a petition for Tax Court
review within 90 days of the date of mailing that notice
(150 days if the notice is addressed to you outside the
United States),

® If during the Tax Court proceeding, you begin to treat
as an employee an individual whose employment sta-
tus is at issue, the Tax Court will not consider that
change in its decision,

® Assessment and collection of tax is suspended while
the Tax Court review is taking place,

® Payment of the asserted employment tax deficiency is
not required to petition the U.S. Tax Court for a deter-
mination of employment status.

@ There can be a de novo review by the Tax Court (a re-
view which does not consider IRS administrative find-
ings), and

® At your request and with the Tax Court's agreement,
small tax case procedures (discussed later) are avail-
able to simplify the case resolution process when the
amount at issue (including additions to tax and penal-
ties) is $50,000 or less for each tax period involved.

For further information, see Publication 3953, Ques-
tions and Answers About Tax Court Proceedings for De-
termination of Employment Status Under IRC Section
7436.

Section 530(a) of the Revenue Act of 1978. This
section relieves an employer of certain employment tax
responsibilities for individuals not treated as employees. It
also provides relief to taxpayers under audit or involved in
administrative or judicial proceedings.

Tax Court review of request for relief from joint and
several liability on a joint return. As discussed later, at
Relief from joint and several liability on a joint return under
Claims for Refund, you can request relief from liability for
tax you owe, plus related penalties and interest, that you
believe should be paid by your spouse (or former spouse).
You also can petition (ask) the Tax Court to review your
request for innocent spouse relief or separation of liability
if either:

® The IRS sends you a determination notice denying, in
whole or in part, your request, or

® You do not receive a determination notice trom the
IRS within 6 months from the date you file Form 8857.

If you receive a determination notice, you must petition
the Tax Court to review your request during the 90-day
period that begins on the date the IRS mails the notice.
See Publication 971 for more information.

Note. Your spouse or former spouse may file a written
protest and request an Appeals conference to protest
your claim of innocent spouse relief or separation of liabil-
ity. See Rev. Proc. 2003-19, which is on page 371 of the
Internal Revenue Bulletin 2003-5 at

- www.irs.gov/pub/irs-irbs/irb0Q3-05. pdf.

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Tax Court

You can take your case to the United States Tax Court if
you disagree with the IRS over:

® Income tax,
® Estate tax,
® Gift tax,

© Employment tax involving IRS employment status de-
terminations, or

® Certain excise taxes of private foundations, public
charities, qualified pension and other retirement plans,
or real estate investment trusts.

For information on Tax Court review of a determination
of employment status, see Jurisdiction for determination
of employment status, earlier.

For information on Tax Court review of an IRS refusal
to abate interest, see Tax Court can review failure to
abate interest, earlier under Examination of Returns.

For information on Tax Court review of Appeals deter-
minations with respect to lien notices and proposed lev-
ies, see Publication 1660.

You cannot take your case to the Tax Court before the
IRS sends you a notice of deficiency. You can only appeal
your case if you file a petition within 90 days from the date
the notice is mailed to you (150 days if it is addressed to
you outside the United States).

The notice will show the 90th (or 150th) day by
TIP, which you must file your petition with the Tax
Court.

Withdrawal of notice of deficiency. If you consent,
the IRS can withdraw a notice of deficiency. A notice of
deficiency may be rescinded if the notice was issued as a
result of an administrative error; the taxpayer submits in-
formation establishing the actual tax due is less than the
amount shown in the notice; the taxpayer specifically re-
quests a conference with the appropriate Appeals office
for the purpose of entering into settlement negotiations.
However, the notice may be rescinded only if the appro-
priate Appeals office first decides that the case is suscep-
tible to agreement. See Revenue Procedure 98-54 for a
more detailed explanation of the requirements. Once with-
drawn, the limits on credits, refunds, and assessments
concerning the notice are void, and you and the IRS have
the rights and obligations that you had before the notice
was issued. The suspension of any time limitation while
the notice of deficiency was issued will not change when
the notice is withdrawn.

After the notice is withdrawn, you cannot file a
petition with the Tax Court based on the notice.
for Sb a led)

Also, the IRS can Iater issue a notice of defi-
ciency in a greater or lesser amount than the amount in
the withdrawn deficiency.

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Generally, the Tax Court hears cases before any tax
has been assessed and paid; however, you can pay the
tax after the notice of deficiency has been issued and still
petition the Tax Court for review. If you do not file your pe-
tition on time, the proposed tax will be assessed, a bill will
be sent, and you will not be able to take your case to the
Tax Court. Under the law, you must pay the tax within 21
days (10 business days if the amount is $100,000 or
more). Collection can proceed even if you think that the
amount is excessive. Publication 594 explains IRS collec-
tion procedures.

If you filed your petition on time, the court will schedule
your case for trial at a location convenient to you. You can
represent yourself before the Tax Court or you can be rep-
resented by anyone admitted to practice before that court.

Small tax case procedure. If the amount in your case is
$50,000 or less for any 1 tax year or period, you can re-
quest that your case be handled under the small tax case
procedure. If the Tax Court approves, you can present
your case to the Tax Court for a decision that is final and
that you cannot appeal. You can get more information re-
garding the small tax case procedure and other Tax Court
matters from the United States Tax Court, 400 Second
Street, N.W., Washington, DC 20217. More information
can be found on the Tax Court's website at
www.ustaxcourt. gov.

Motion to request redetermination of interest. In cer-
tain cases, you can file a motion asking the Tax Court to
redetermine the amount of interest on either an underpay-
ment or an overpayment. You can do this only in a situa-
tion that meets all of the following requirements:

© The IRS has assessed a deficiency that was deter-
mined by the Tax Court.

® The assessment included interest.

® You have paid the entire amount of the deficiency plus
the interest claimed by the IRS.

® The Tax Court has found that you made an overpay-
ment.

You must file the motion within one year after the decision
of the Tax Court becomes final.

District Court and Court of Federal Claims

Generally, the District Courts and the Court of Federal
Claims hear tax cases only after you have paid the entire
tax and penalties, and filed a claim for a credit or refund.

The taxpayer may litigate certain types of employment
tax cases in either the United States District Court or the
United States Court of Federal Claims. Before taxpayers
can initiate suit in either of these courts with respect to
certain employment taxes, they will have to pay, at a mini-
mum, the employment tax assessment attributable to one
employee for any one quarter and file a claim for refund of
the tax. Once the claim for refund is denied or 6 months
elapse without any action by the IRS, the taxpayer may in-
itiate suit.

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As explained later under Claims for Refund, you can
file a claim with the IRS for a credit or refund if you think
that the tax you paid is incorrect or excessive. If your claim
is totally or partially disallowed by the IRS, you should re-
ceive a notice of claim disallowance. If the IRS does not
act on your claim within 6 months from the date you filed
it, you can then file suit for a refund.

You generally must file suit for a credit or refund no
later than 2 years after the IRS informs you that your claim
has been rejected. However, you can file suit if it has been
6 months since you filed your claim and the IRS has not
yet delivered a decision.

You can file suit for a credit or refund in your United
States District Court or in the United States Court of Fed-
eral Claims. However, you cannot appeal to the United
States Court of Federal Claims if your claim is for credit or
refund of a penalty that relates to promoting an abusive
tax shelter or to aiding and abetting the understatement of
tax liability on someone else's return.

For information about procedures for filing suit in either
court, contact the Clerk of your District Court or of the Uni-
ted States Court of Federal Claims.

Refund or Credit of Overpayments
Before Final Determination

Any court with proper jurisdiction, including the Tax Court,
can order the IRS to refund any part of a tax deficiency
that the IRS collects from you during a period when the
IRS is not permitted to assess that deficiency, or to levy or
engage in any court proceeding to collect that deficiency.
In addition, the court can order a refund of any part of an
overpayment determined by the Tax Court that is not at is-
sue on appeal to a higher court. The court can order these
refunds before its decision on the case is final. Taxpayers
should thoroughly review IRS settlement offers before
signing a Tax Court Decision document to ensure that all
adjustments are correct, including the inclusion of any tax
credits that the taxpayer is allowed to claim.

Note. The court may no longer order a refund of an
overpayment after the case is final.

Generally, the IRS is not permitted to take action on a
tax deficiency during:

® The 90-day (or 150-day if outside the United States)
period that you have to petition a notice of deficiency
to the Tax Court, or

© The period that the case is under appeal if a bond is
provided.

Claims for Refund

If you believe you have overpaid your tax, you have a limi-
ted amount of time in which to file a claim for a credit or
refund. You can claim a credit or refund by filing Form

1040X. See Time for Filing a Claim for Refund, later.
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Fite your claim by mailing it to the IRS Service Center
where you filed your original return. File a separate form
for each year or period involved. Include an explanation of
each item of income, deduction, or credit on which you
are basing your claim.

Corporations should file Form 1120X, Amended U.S.
Corporation Income Tax Return, or other form appropriate
to the type of credit or refund claimed.

See Publication 3920 for information on filing
TIP) claims for tax forgiveness for individuals affected
by terrorist attacks.

Requesting a copy of your tax return. You can obtain
a copy of the actual return and all attachments you filed
with the IRS for an earlier year. This includes a copy of the
Form W-2 or Form 1099 filed with your return. Use Form
4506 to make your request. You will be charged a fee,
which you must pay when you submit Form 4506.

Requesting a copy of your tax account information.
Use Form 4506-T, Request for Transcript of Tax Return,
to request free copies of your tax return transcript, tax ac-
count transcript, record of account, verification of nonfil-
ing, or Form W-2, Form 1099 series, Form 1098 series, or
Form 5498 series transcript. The tax return transcript con-
tains most of the line items of a tax return. A tax account
transcript contains information on the financial status of
the account, such as payments, penalty assessments,
and adjustments. A record of account is a combination of
line item information and later adjustments to the account.
Form W-2, Form 1099 series, Form 1098 series, or Form
5498 series transcript contains data from these informa-
tion returns.

Penalty for erroneous claim for refund. If you claim
an excessive amount of tax refund or credit relating to in-
come tax (other than a claim relating to the earned income
credit), you may be liable for a penalty of 20% of the
amount that is determined to be excessive. An excessive
amount is the amount of the claim for refund or credit that
is more than the amount of claim allowable for the tax
year. The penalty may be waived if you can show that you
had a reasonable basis for making the claim.

Time for Filing a Claim for Refund

Generally, you must file a claim for a credit or refund
within 3 years from the date you filed your original return
or 2 years from the date you paid the tax, whichever is
later. If you do not file a claim within this period, you may
no longer be entitled to a credit or a refund.

if the due date to file a return or a claim for a credit or
refund is a Saturday, Sunday, or legal holiday, it is filed on
time if it is filed on the next business day. Returns you filed
before the due date are considered filed on the due date.
This is true even when the due date is a Saturday, Sun-
day, or legal holiday.

Disaster area claims for refund. If you live in a Presi-
dentialiy declared disaster area or are affected by

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terroristic or military action, the deadline to file a claim for
a refund may be postponed. This section discusses the
special rules that apply to Presidentially declared disaster
area refunds.

A Presidentially declared disaster is a disaster that oc-
curred in an area declared by the President to be eligible
for federal assistance under the Disaster Relief and Emer-
gency Assistance Act.

Posiponed refund deadlines. The IRS may post-
pone for up to 1 year the deadlines for filing a claim for re-
fund. The postponement can be used by taxpayers who
are affected by a Presidentially declared disaster. The IRS
may also postpone deadlines for filing income and em-
ployment tax returns, paying income and employment
taxes, and making contributions to a traditional IRA or
Roth IRA. For more information, see Publication 547.

If any deadline is postponed, the IRS will publicize the
postponement in your area and publish a news release,
revenue ruling, revenue procedure, notice, announce-
ment, or other guidance in the Internal Revenue Bulletin.

A list of the areas eligible for assistance under the
Disaster Relief and Emergency Assistance Act is
available at the Federal Emergency Management
Agency (FEMA) website at www.fema.gov and at the IRS

Nonfilers can get refund of overpayments paid within
3-year period. The Tax Court can consider taxes paid
during the 3-year period preceding the date of a notice of
deficiency for determining any refund due to a nonifiler.
This means that if you do not file your return, and you re-
ceive a notice of deficiency in the third year after the due
date (with extensions) of your return and file suit with the
Tax Court to contest the notice of deficiency, you may be
able to receive a refund of excessive amounts paid within
the 3-year period preceding the date of the notice of defi-

ciency.

TIP deadlines, including the time for filing claims for
refund, for taxpayers who are affected by a terro-

rist attack occurring after September 10, 2001. For more

information, see Publication 3920.

The IRS may postpone for up to 1 year certain tax

Claim for refund by estates electing the installment
method of payment. In certain cases where an estate
has elected to make tax payments through the installment
method, the executor can file a suit for refund with a U.S.
District Court or the U.S. Court of Federal Claims before
all the installment payments have been made. However,
all the following must be true before a suit can be filed:

© The estate consists largely of an interest ina
closely-held business.

® All installment payments due on or before the date the
suit is filed have been made.

® No accelerated installment payments have been
made,

® No Tax Court case is pending with respect to any es-
tate tax liability.

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® If anotice of deficiency was issued to the estate re-
garding its liability for estate tax, the time for petition-
ing the Tax Court has passed.

® No proceeding is pending for a declaratory judgment
by the Tax Court on whether the estate is eligible to
pay tax in installments.

® The executor has not included any previously litigated
issues in the current suit for refund.

® The executor does not discontinue making installment
payments timely, while the court considers the suit for
refund.

if in its final decision on the suit for refund the
court redetermines the estate's tax liability, the
{RS must refund any part of the estate tax amount
that is disallowed. This includes any part of the disallowed

amount previously collected by the IRS.

Protective claim for refund. If your right to a refund is
contingent on future events and may not be determinable
until after the time period for filing a claim for refund ex-
pires, you can file a protective claim for refund. A protec-
tive claim can be either a formal claim or an amended re-
turn for credit or refund. Protective claims are often based
on current litigation or expected changes in the tax law,
other legislation, or regulations. A protective claim pre-
serves your right to claim a refund when the contingency
is resolved. A protective claim does not have to state a
particular dollar amount or demand an immediate refund.
However, to be valid, a protective claim must:

® Be in writing and be signed,

® Include your name, address, social security number or
individual taxpayer identification number, and other
contact information,

© Identify and describe the contingencies affecting the
claim,

® Clearly alert the IRS to the essential nature of the
claim, and

® Identify the specific year(s) for which a refund is
sought.

Generally, the IRS will delay action on the protective
claim until the contingency is resolved. Once the contin-
gency is resolved, the IRS may obtain additional informa-
tion necessary to process the claim and then either allow
or disallow the claim.

Mail your protective claim for refund to the address lis-
ted in the instructions for Form 1040X, under Where To
File.

Exceptions

The limits on your claim for refund can be affected by the
type of item that forms the basis of your claim.

Special refunds. If you file a claim for refund based on
one of the items listed below, the limits discussed earlier

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under Time for Filing a Claim for Refund may not apply.
These special items are:

© Abad debt,

¢ Aworthless security,

® A payment or accrual of foreign tax,
¢ Anet operating loss carryback, and
® Acarryback of certain tax credits.

The limits discussed earlier also may not apply if you
have signed an agreement to extend the period of assess-
ment of tax.

For information on special rules on filing claims
rip) for an individual affected by a terrorist atlack, see
Publication 3920.

Periods of financial disability. If you are an individual
(not a corporation or other taxpaying entity), the period of
limitations on credits and refunds can be suspended dur-
ing periods when you cannot manage your financial affairs
because of physical or mental impairment that is medi-
cally determinable and either:

© Has lasted or can be expected to last continuously for
atleast 12 months, or

© Can be expected to result in death.

The period for filing a claim for refund will not be

suspended for any time that someone else, such
TEE as your spouse or guardian, was authorized to
act for you in financial matters.

To claim financial disability, you generally must submit
the following statements with your claim for credit or re-
fund:

1. Awritten statement signed by a physician, qualified to
make the determination, that sets forth:

a. The name and a description of your physical or
mental impairment,

b. The physician's medical opinion that your physical
or mental impairment prevented you from manag-
ing your financial affairs,

c. The physician's medical opinion that your physical
or mental impairment was or can be expected to
result in death, or that it has lasted (or can be ex-
pected to last) for a continuous period of not less
than 12 months, and

d. To the best of the physician's knowledge, the spe-
cific time period during which you were prevented
by such physical or mental impairment from man-
aging your financial affairs, and

2. Awritten statement by the person signing the claim
for credit or refund that no person, including your
spouse, was authorized to act on your behalf in finan-
cial matters during the period described in paragraph
(1)(d) of the physician's statement. Alternatively, if a

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person was authorized to act on your behalf in finan-
cial matters during any part of the period described in
that paragraph, the beginning and ending dates of the
period of time the person was so authorized.

The period of limitations will not be suspended on
any claim for refund that (without regard to this
cman provision) was barred as of July 22, 1998.

Limit on Amount of Refund

If you file your claim within 3 years after filing your return,
the credit or refund cannot be more than the part of the tax
paid within the 3 years (plus the length of any extension of
time granted for filing your return) before you filed the
claim.

Example 1. You made estimated tax payments of
$1,000 and got an automatic extension of time from April
15, 2003, to August 15, 2003, to file your 2002 income tax
return. When you filed your return on that date, you paid
an additional $200 tax. Three years later, on August 15,
2006, you file an amended return and claim a refund of
$700. Because you filed within 3 years after filing your re-
turn, you could get a refund of any tax paid after April 15,
2003.

Example 2. The situation is the same as in Example 1,
except that you filed your return on October 31, 2003, 2
months after the extension period ended. You paid an ad-
ditional $200 on that date. Three years later, on October
27, 2006, you file an amended return and claim a refund
of $700. Although you filed your claim within 3 years from
the date you filed your original return, the refund is limited
to $200. The estimated tax of $1,000 was paid before the
3 years plus the 4-month extension period.

Claim filed after the 3-year period. If you file a claim af-
ter the 3-year period, but within 2 years from the time you
paid the tax, the credit or refund cannot be more than the
tax you paid within the 2 years immediately before you
filed the claim.

Example. You filed your 2002 tax return on April 15,
2003. You paid $500 in tax. On November 2, 2004, after
an examination of your 2002 return, you had to pay $200
in additional tax. On May 2, 2006, you file a claim for a re-
fund of $300. Your refund will be limited to the $200 you
paid during the 2 years immediately before you filed your
claim.

Processing Claims for Refund

Claims are usually processed shortly after they are filed.
Your claim may be denied, accepted as filed, or it may be
examined. If a claim is examined, the procedures are al-
most the same as in the examination of a tax return.

However, if you are filing a claim for credit or refund
based only on contested income tax or on estate tax or
gift tax issues considered in previously examined returns
and you do not want to appeal within the IRS, you should
request in writing that the claim be immediately rejected. A

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notice of claim disallowance will then be promptly sent to
you. You have 2 years from the date of mailing of the no-
tice of disallowance to file a refund suit in a United States
District Court or in the United States Court of Federal
Claims.

Explanation of Any Claim
for Refund Disallowance

The IRS must explain to you the specific reasons why
your claim for refund is disallowed or partially disallowed.
Claims for refund are disallowed based on a preliminary
review or on further examination. Some of the reasons
your claim may be disallowed include the following:

® It was filed fate.

® It was based solely on the unconstitutionality of the
revenue acts.

® It was waived as part of a settlement.

® It covered a tax year or issues which were part of a
closing agreement or an offer in compromise.

® It was related to a return closed by a final court order.

if your claim is disallowed for these reasons, or any other
reason, the IRS must send you an explanation.

Reduced Refund

Your refund may be reduced by an additional tax liability.
Also, your refund may be reduced by amounts you owe
for past-due child support, debts you owe to another fed-
eral agency, or past-due legally enforceable state income
tax obligations. You will be notified if this happens. For
those reductions, you cannot use the appeal and refund
procedures discussed in this publication. However, you
may be able to take action against the other agency.

Offset of past-due state income tax obligations
against overpayments. Federal tax overpayments can
be used to offset past-due, legally enforceable state in-
come tax obligations. For the offset procedure to apply,
your federal income tax return must show an address in
the state that requests the offset. In addition, the state
must first:

® Notify you by certified mail with return receipt that the
state plans to ask for an offset against your federal in-
come tax overpayment,

® Give you at least 60 days to show that some or all of
the state income tax is not past due or not legally en-
forceable,

® Consider any evidence from you in determining that
income tax is past due and legally enforceable,

© Satisfy any other requirements to ensure that there is
a valid past-due, legally enforceable state income tax
obligation, and

® Show that all reasonable efforts to obtain payment
have been made before requesting the offset.

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Past-due, legally enforceable state income tax ob-
ligation. This is an obligation (debt):

® Established by a court decision or administrative hear-
ing and no longer subject to judicial review, or

® Thatis assessed, uncollected, can no longer be rede-
termined, and is less than 10 years overdue.

Offset priorities. Overpayments are offset in the fol-
lowing order:

1. Federal income tax owed.
2. Past-due child support.

3. Past-due, legally enforceable debt owed to a federal
agency.

4. Past-due, legally enforceable state income tax debt.
5. Future federal income tax liability.

Note. If more than one state agency requests an offset
for separate debts, the offsets apply against your overpay-
ment in the order in which the debts accrued. In addition,
state income tax includes any local income tax adminis-
tered by the chief tax administration agency of a state.

Note. The Tax Court cannot decide the validity or mer-
its of the credits or offsets (for example, collection of delin-
quent child support or student loan payments) made that
reduce or eliminate a refund to which you were otherwise
entitled.

Injured spouse exception. When a joint retum is filed
and the refund is used to pay one spouse's past-due child
support, spousal support, or a federal debt, the other
spouse can be considered an injured spouse. An injured
spouse can get a refund for his or her share of the over-
payment that would otherwise be used to pay the
past-due amount.
You are considered an injured spouse if:

1. You are not legally obligated to pay the past-due
amount and

2. You meet any of the following conditions:

a. You made and reported tax payments (such as
federal income tax withheld from wages or estima-
ted tax payments).

b. You had earned income (such as wages, salaries,
or self-employment income) and claimed the
earned income credit or the additional child tax
credit.

c. You claimed a refundable credit, such as the
health coverage tax credit.

Note. If your residence was in a community property
state at any time during the year, you can file Form 8379
even if only item (1) above applies.

If you are an injured spouse, you can obtain your por-
tion of the joint refund by completing Form 8379. Follow
the instructions on the form.

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Rellef from joint and several liability on a joint return.
Generally, joint and several liability applies to all joint re-
turns. This means that both you and your spouse (or for-
mer spouse) are liable for any tax shown on a joint retumn
plus any understatement of tax that may become due
later. This is true even if a divorce decree states that a for-
mer spouse will be responsible for any amounts due on
previously filed joint returns.

In some cases, a spouse will be relieved of the tax, in-
terest, and penalties on a joint tax return. Three types of
relief are available.

® Innocent spouse relief.
® Separation of liability.
© Equitable relief.

Form 8857. Each kind of relief is different and has dif-
ferent requirements. You must file Form 8857, Request for
Innocent Spouse Relief, to request relief. See the instruc-
tions for Form 8857 and Publication 971 for more informa-
tion on these kinds of relief and who may qualify for them.

How To Get Tax Help

Go online, use a smart phone, call or walk in to an office
near you. Whether it's help with a tax issue, preparing
your tax return or picking up a free publication or form, get
the help you need the way you want it.

Free help with your tax return. Free help in preparing
your return is available nationwide from IRS-certified vol-
unteers. The Volunteer Income Tax Assistance (VITA)
program is designed to help low-to-moderate income, eld-
erly, persons with disabilities, and limited English profi-
cient taxpayers. The Tax Counseling for the Elderly (TCE)
program is designed to assist taxpayers age 60 and older
with their tax returns. Most VITA and TCE sites offer free
electronic filing and all volunteers will let you know about
credits and deductions you may be entitled to claim.
Some VITA and TCE sites provide taxpayers the opportu-
nity to prepare their return with the assistance of an
IRS-certified volunteer. To find the nearest VITA or TCE
site, visit IRS.gov or call 1-800-906-9887.

As part of the TCE program, AARP offers the Tax-Aide
counseling program. To find the nearest AARP Tax-Aide
site, visit AARP's website at www.aarp.org/money/taxaide
or call 1-888-227-7669.

For more information on these programs, go to IRS.gov
and enter “VITA” in the search box.

[ml internet. IRS.gov and IRS2Go are ready when

you are — every day, every night, 24 hours a day,
7 days a week.

® Apply for an Employer Identification Number (EIN). Go
to IRS.gov and enter Apply for an EfN in the search
box.

© Request an Electronic Filing PIN by going to IRS.gov
and entering Electronic Filing PIN in the search box.

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® Check the status of your 2013 refund with Where's My
Refund? Go to IRS.gov or the IRS2Go app, and click
on Where's My Refund? You'll get a personalized re-
fund date as soon as the IRS processes your tax re-
turn and approves your refund. If you e-file, your re-
fund status is usually available within 24 hours after
the IRS receives your tax return or 4 weeks after
you've mailed a paper return.

® Check the status of your amended return. Go to
IRS.gov and enter Where's My Amended Retum? in
the search box.

® Download forms, instructions, and publications, in-
cluding some accessible versions.

® Order free transcripts of your tax returns or tax ac-
count using the Order a Transcript tool on IRS.gov or
IRS2Go. Tax return and tax account transcripts are
generally available for the current year and past three
years.

® Figure your income tax withholding with the /RS
Withholding Calculator on IRS.gov. Use it if you've
had too much or too little withheld, your personal sit-
uation has changed, you're starting a new job or you
just want to see if you're having the right amount with-
held.

® Determine if you might be subject to the Alternative
Minimum Tax by using the Alternative Minimum Tax
Assistant on IRS.gov.

¢ Locate the nearest Taxpayer Assistance Center using
the Office Locator tool on IRS.gov or IRS2Go. Stop by
most business days for face-to-face tax help, no ap-
pointment necessary — just walk in. An employee can
explain IRS letters, request adjustments to your tax
account or help you set up a payment plan. Before
you visit, check the Office Locator for the address,
phone number, hours of operation and the services
provided. If you have an ongoing tax account problem
or a special need, such as a disability, you can re-
quest an appointment. Call the local number listed in
the Office Locator, or look in the phone book under
United States Government, Internal Revenue Service.

© Locate the nearest volunteer help site with the VITA
Locator Tool on IRS.gov. Low-to-moderate income,
elderly, persons with disabilities, and limited English
proficient taxpayers can get free help with their tax re-
turn from the nationwide Volunteer Income Tax Assis-
tance (VITA) program. The Tax Counseling for the
Elderly (TCE) program helps taxpayers 60 and older
with their tax returns. Most VITA and TCE sites offer
free electronic filing and some provide IRS-certified
volunteers who can help prepare your tax return.
AARP offers the Tax-Aide counseling program as part
of the TCE program. Visit AARP’s website to find the
nearest Tax-Aide location.

® Research your tax questions.

* Search publications and instructions by topic or key-
word.

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© Read the Internal Revenue Code, regulations, or other
official guidance.

® Read Internal Revenue Bulletins.

® Sign up to receive local and national tax news by
email.

Phone.You can call the IRS, or you can carry it in
your pocket with the IRS2Go app on your smart

phone or tablet.

® Download the free |RS2Go mobile app from the
iTunes app store or from Google Play. Use it to watch
the IRS YouTube channel, get IRS news as soon as
it's released to the public, order transcripts of your tax
returns or tax account, check your refund status, sub-
scribe to filing season updates or daily tax tips, and
follow the IRS Twitter news feed, @lRSnews, to get
the latest federal tax news, including information
about tax law changes and important IRS programs.

® Call to locate the nearest volunteer heip site,
1-800-906-9887. Low-to-moderate income, elderly,
persons with disabilities, and limited English proficient
taxpayers can get free help with their tax retum from
the nationwide Volunteer Income Tax Assistance
(VITA) program. The Tax Counseling for the Elderly
(TCE) program helps taxpayers 60 and older with their
tax returns. Most VITA and TCE sites offer free elec-
tronic filing. Some VITA and TCE sites provide
IRS-certified volunteers who can help prepare your
tax return. Through the TCE program, AARP offers the
Tax-Aide counseling program; call 1-888-227-7669 to
find the nearest Tax-Aide location.

® Call to check the status of your 2013 refund,
1-800-829-1954 or 1-800-829-4477, The automated
Where's My Refund? intormation is available 24 hours
a day, 7 days a week. If you e-file, your refund status
is usually available within 24 hours after the IRS re-
ceives your tax return or 4 weeks after you've mailed a
paper return. Before you call, have your 2013 tax re-
turn handy so you can provide your social security
number, your filing status, and the exact whole dollar
amount of your refund. Where's My Refund? can give
you a personalized refund date as soon as the IRS
processes your tax return and approves your refund.
Where's My Refund? includes information for the most
recent return filed in the current year and does not in-
clude information about amended returns.

® Call the Amended Return Hotline, 1-866-464-2050, to
check the status of your amended retum.

® Call to order forms, instructions and publications,
1-800-TAX-FORM (1-800-829-3676) to order cur-
rent-year forms, instructions and publications, and
prior-year forms and instructions (limited to 5 years).
You should receive your order within 10 business
days.

® Call to order transcripts of your tax returns or tax ac-
count, 1-800-908-9946. Follow the prompts to provide
your Social Security Number or Individual Taxpayer

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Identification Number, date of birth, street address
and ZIP code.

® Cail for TeleTax topics, 1-800-829-4477, to listen to
pre-recorded messages covering various tax topics.

® Call to ask tax questions, 1-800-829-1040.

© Call using TTY/TOD equipment, 1-800-829-4059 to
ask tax questions or order forms and publications. The
TTY/TDD telephone number is for people who are
deaf, hard of hearing, or have a speech disability.
These individuals can also contact the IRS through re-
lay services such as the Federal Relay Service availa-
ble at www.qsa.gowfedrelay.

[aa Walk-in. You can find a selection of forms, publi-
i cations and services — in-person, face-to-face.

® Products. You can walk in to some post offices, libra-
ries, and IRS offices to pick up certain forms, instruc-
tions, and publications. Some IRS offices, libraries,
and city and county government offices have a collec-
tion of products available to photocopy from reprodu-
cible proofs.

® Services. You can walk in to your local TAC (Taxpayer
Assistance Center) most business days for personal,
face-to-face tax help. An employee can explain IRS
letters, request adjustments to your tax account, or
help you set up a payment plan. If you need to resolve
a tax problem, have questions about how the tax law
applies to your individual tax return, or you are more
comfortable talking with someone in person, visit your
local TAC where you can talk with an IRS representa-
tive face-to-face. No appointment is necessary—just
walk in. Before visiting, check www. irs.gov/
localcontacts for hours of operation and services pro-
vided.

(EA Mail. You can send your order for forms, instruc-

tions, and publications to the address below. You
should receive a response within 10 business
days after your request is received.

Internal Revenue Service
1201 N. Mitsubishi Motorway
Bloomington, IL 61705-6613

The Taxpayer Advocate Service Is Here to Help You.
The Taxpayer Advocate Service (TAS) is your voice at the
IRS. Our job is to ensure that every taxpayer is treated
fairly and that you know and understand your rights.

What can TAS do for you? We can offer you free help
with IRS problems that you can't resolve on your own. We
know this process can be confusing, but the worst thing
you can do is nothing at allf TAS can help if you can't re-
solve your tax problem and:

® Your problem is causing financial difficulties for you,
your family, or your business.

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® You face (or your business is facing) an immediate
threat of adverse action.

® You've tried repeatedly to contact the IRS but no one
has responded, or the IRS hasn't responded by the
date promised.

If you qualify for our help, you'll be assigned to one ad-
vocate who'll be with you at every turn and will do every-
thing possible to resolve your problem. Here's why we can
help:

® TAS is an independent organization within the IRS.
Our advocates know how to work with the IRS.

© Our services are free and tailored to meet your needs.

© We have offices in every state, the District of Colum-
bia, and Puerto Rico.

How can you reach us? If you think TAS can help you,
call your local advocate, whose number is in your local di-

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rectory and at www.irs.gov/advocate, or call us toll-free at
1-877-777-4778.

How else does TAS help taxpayers? TAS also works
to resolve large-scale, systemic problems that affect many
taxpayers. If you know of one of these broad issues,
please report it to us through our Systemic Advocacy
Management System at www.irs.gov/sams.

Low Income Taxpayer Clinics. Low Income Taxpayer
Clinics (LITCs) serve individuals whose income is below a
certain level and need to resolve tax problems such as au-
dits, appeals, and tax collection disputes. Some clinics
can provide information about taxpayer rights and respon-
sibilities in different languages for individuals who speak
English as a second language. Visit
www. TaxpayerAdvocaie.irs.gov or see IRS Publication
4134, Low Income Taxpayer Clinic List.

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